Case 2:21-cv-02390-MWF-SK Documen t30 Filed 06/30/21 Page 1of1 Page ID #:129

NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

Jan L. Handzlik (CA State Bar No. 047959)
Jan Lawrence Handzlik, APC
515 South Flower Street, 18th Floor
Los Angeles, CA 90071

Tel: 213 236-3519

 

 

ATTORNEY(S) FOR: Defendants

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

LICGO PARTNERS, LLC, SOVEREIGN ae

VATA AT TTATTATATMAOA OTT Mm Plaintiff(s),

V.

KETTH BERMAN, DECISION

DIAGNOSTICS CORP. and
PHARMATECH SOLUTTONS. INC... Defendant(s)

 

 

CERTIFICATION AND NOTICE
OF INTERESTED PARTIES
(Local Rule 7.1-1)

  
  
     

 
 

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Defendants

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

 

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY CONNECTION / INTEREST
Keith Berman Defendant
Decision Diagnoistics Corp. Defendant
PharmaTech Solutions, Inc. Defendant

June 30, 2021 a | B Danc\

Date Signature

 

 

 

Attorney of record for (or name of party appearing in pro per):

Defendants Keith Berman, Decision Diagnostics Corp. & Pharmé

 

 

 

 

CV-30 (05/13) NOTICE OF INTERESTED PARTIES
